              Case 1:23-bk-10626                  Doc 1     Filed 09/26/23 Entered 09/26/23 15:35:17                               Desc Main
                                                            Document     Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF RHODE ISLAND

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Oneco Builders LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o Frank Dimartino
                                  475 Robin Hollow Road                                           327 New Road
                                  West Greenwich, RI 02817                                        Moosup, CT 06354
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kent                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Oneco Builders LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2361

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Oneco Builders LLC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Oneco Builders LLC                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Oneco Builders LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 26, 2023
                                                  MM / DD / YYYY


                             X /s/ Frank H Dimartino                                                      Frank H Dimartino
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X /s/ Stephen P. Levesque                                                     Date September 26, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen P. Levesque 5742
                                 Printed name

                                 Stephen P. Levesque, Esq,
                                 Firm name

                                 165 Burnside Street
                                 2nd Floor
                                 Cranston, RI 02910
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     401-490-4900                  Email address      customerservice@spllaw.com

                                 5742 RI
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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Fill in this information to identify the case:

Debtor name         Oneco Builders LLC

United States Bankruptcy Court for the:     DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 26, 2023              X /s/ Frank H Dimartino
                                                           Signature of individual signing on behalf of debtor

                                                            Frank H Dimartino
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 1:23-bk-10626                                   Doc 1             Filed 09/26/23 Entered 09/26/23 15:35:17                                                           Desc Main
                                                                                    Document     Page 7 of 33
 Fill in this information to identify the case:

 Debtor name            Oneco Builders LLC

 United States Bankruptcy Court for the:                       DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            95,667.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            95,667.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           867,041.88


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             867,041.88




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Oneco Builders LLC

United States Bankruptcy Court for the:     DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Citizens Bank                                     Checking                              4061                                       $200.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $200.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    24,432.00      -                                     0.00 = ....                            $24,432.00
                                       face amount                          doubtful or uncollectible accounts



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
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Debtor       Oneco Builders LLC                                                          Case number (If known)
             Name



12.       Total of Part 3.                                                                                                    $24,432.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                           Net book value of       Valuation method used   Current value of
          Include year, make, model, and identification numbers         debtor's interest       for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                 (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   BMW SUV X7 2021
                  Subject to a Loan with GM Financial
                  Est Value $63,000 - Per Ford Dealer
                  Bal of Loan $72,000 - Pmt $1928                                  $63,000.00   Comparable sale                   $63,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor        Oneco Builders LLC                                                           Case number (If known)
              Name

           ICF Bracing Supports 36 pc
           20' Extension Ladder Fiberglass
           12' Step Ladder Fiberglass
           Paint Sprayer 5 Gallon
           Bullet Heater
           Construction 4ft Job Box
           Radial Arm Saw
           Ryobi Table Saw
           mpkita Demo Saw
           Plate Compactor
           Alumminum 16' Extension Ladder
           Water Pump and Hose
           Dewalt Skill Saw
           Air Compressor Emgloo
           Bostich Framing Gun
           Bostich Roofing Gun
           Bostich Hardwood Floor Nailer
           Misc. Shovels and Rakes 8pc                                             $8,035.00       N/A                      $8,035.00




51.        Total of Part 8.                                                                                             $71,035.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 3
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Debtor          Oneco Builders LLC                                                                                  Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $200.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $24,432.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $71,035.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $95,667.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $95,667.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
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Fill in this information to identify the case:

Debtor name          Oneco Builders LLC

United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       Scranton Chevrolet of
2.1                                                                                                                          Unknown                 $63,000.00
       Norwich                                      Describe debtor's property that is subject to a lien
       Creditor's Name                              BMW SUV X7 2021
                                                    Subject to a Loan with GM Financial
                                                    Est Value $63,000 - Per Ford Dealer
       774 W Thames St.                             Bal of Loan $72,000 - Pmt $1928
       Norwich, CT 06360
       Creditor's mailing address                   Describe the lien
                                                    Car loan
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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Fill in this information to identify the case:

Debtor name        Oneco Builders LLC

United States Bankruptcy Court for the:         DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,518.27
          Barnes Concrete Co., Inc.                                            Contingent
          873 Providence Pike                                                  Unliquidated
          Putnam, CT 06260                                                     Disputed
          Date(s) debt was incurred 7/22/22
                                                                            Basis for the claim: Vendor
          Last 4 digits of account number Oneco
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $40,000.00
          Boutros Salo & Boghos LLC                                            Contingent
          3 PRESIDENTIAL WAY                                                   Unliquidated
          Lincoln, RI 02865                                                    Disputed
          Date(s) debt was incurred 2022
                                                                            Basis for the claim: Contract
          Last 4 digits of account number 1982
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,295.72
          Citizens Bank                                                        Contingent
          PO Box 42010                                                         Unliquidated
          Providence, RI 02940-9799                                            Disputed
          Date(s) debt was incurred 8/11/23
                                                                            Basis for the claim: Credit
          Last 4 digits of account number 1624
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Connecticut Secretary of State                                       Contingent
          165 Capitol Avenue Suite 1000                                        Unliquidated
          Hartford, CT 06106                                                   Disputed
          Date(s) debt was incurred 2023
                                                                            Basis for the claim: Annual Fees
          Last 4 digits of account number 4439
                                                                            Is the claim subject to offset?       No     Yes




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Debtor      Oneco Builders LLC                                                              Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,494.70
         Farm Family Casualty Insurance                               Contingent
         1949 E Sunshine St.                                          Unliquidated
         Springfield, MO 65899                                        Disputed
         Date(s) debt was incurred 7/28/23
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number 6738
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $361,273.14
         First Citizens Bank                                          Contingent
         155 Xommerce Way                                             Unliquidated
         Portsmouth, NH 03801                                         Disputed
         Date(s) debt was incurred 9/15/16
                                                                   Basis for the claim: Credit
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,928.03
         Gm Financial                                                 Contingent
         Po Box 181145                                                Unliquidated
         Arlington, TX 76096                                          Disputed
         Date(s) debt was incurred 7/2/23
                                                                   Basis for the claim: Credit
         Last 4 digits of account number 4387
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,740.00
         J.R. Vinagro Corporation                                     Contingent
         2208 Plainfield Pike                                         Unliquidated
         Johnston, RI 02919                                           Disputed
         Date(s) debt was incurred 8/28/23
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number 0486
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $209,000.00
         John and Dawn Isch                                           Contingent
         90 Branden Way                                               Unliquidated
         Tolland, CT 06084                                            Disputed
         Date(s) debt was incurred 8/16/21
                                                                   Basis for the claim: Construction Agreement
         Last 4 digits of account number ndCT
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,956.84
         Jolley Precast, Inc.                                         Contingent
         463 Putnam Rd.                                               Unliquidated
         Danielson, CT 06239                                          Disputed
         Date(s) debt was incurred 7/31/23
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number 5163
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Kevin Hulseberg                                              Contingent
         86 Green Hill Ocean Dr.                                      Unliquidated
         Wakefield, RI 02879                                          Disputed
         Date(s) debt was incurred 8/24/2020
                                                                   Basis for the claim: Construction Contract
         Last 4 digits of account number SKRI
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 4
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             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,042.16
          Lowes Business Acct/Syncb                                           Contingent
          PO Box 669824                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred 8/2/23
                                                                           Basis for the claim: Credit
          Last 4 digits of account number 7120
                                                                           Is the claim subject to offset?         No    Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $199,650.00
          On Deck Capital, LLC                                                Contingent
          4700 W. Daybreak Pkwy                                               Unliquidated
          Suite 200                                                           Disputed
          South Jordan, UT 84009
                                                                           Basis for the claim: Lendor
          Date(s) debt was incurred 6/27/22
          Last 4 digits of account number Oneco                            Is the claim subject to offset?         No    Yes


3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,200.00
          Quality Insulation of Eastern                                       Contingent
          505 Norwich Ave.                                                    Unliquidated
          Taftville, CT 06380                                                 Disputed
          Date(s) debt was incurred 7/3/23
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number 0623
                                                                           Is the claim subject to offset?         No    Yes

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,515.85
          Synchrony Bank                                                      Contingent
          PO Box 71754                                                        Unliquidated
          Philadelphia, PA 19176                                              Disputed
          Date(s) debt was incurred 8/4/23
                                                                           Basis for the claim: Credit
          Last 4 digits of account number 0351
                                                                           Is the claim subject to offset?         No    Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,486.17
          The Home Depot                                                      Contingent
          PO Box 70614                                                        Unliquidated
          Philadelphia, PA 19176                                              Disputed
          Date(s) debt was incurred 8/23/23
                                                                           Basis for the claim: Credit
          Last 4 digits of account number 8606
                                                                           Is the claim subject to offset?         No    Yes

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,941.00
          United Rentals, Inc                                                 Contingent
          PO Box 100711                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number 6587
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Erin E. Boatman Solis
          155 Sycamore Street                                                                       Line     3.9
          Glastonbury, CT 06033
                                                                                                           Not listed. Explain


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            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.2       Joseph Raheb, Esq.
          650 Washington Hwy                                                           Line     3.2
          Lincoln, RI 02865
                                                                                              Not listed. Explain

4.3       Wiggin and Dana
          One Century Tower                                                            Line     3.17
          265 Church Street, 17th Floor
                                                                                              Not listed. Explain
          New Haven, CT 06510


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                    867,041.88

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      867,041.88




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Fill in this information to identify the case:

Debtor name       Oneco Builders LLC

United States Bankruptcy Court for the:     DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Oneco Builders LLC

United States Bankruptcy Court for the:   DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Oneco Builders LLC

United States Bankruptcy Court for the:    DISTRICT OF RHODE ISLAND

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $23,414.00
      From 1/01/2023 to Filing Date
                                                                                          Other    Gross Rec


      For prior year:                                                                     Operating a business                             $2,456,459.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Gross Rec


      For year before that:                                                               Operating a business                             $1,983,823.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    Gross Rec

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                           Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                Check all that apply
      3.1.
              First Citizens Bank                           6/22/23                         $100,000.00           Secured debt
              155 Commerce Way                                                                                    Unsecured loan repayments
              Portsmouth, NH 03801
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.2.
              Fund Works                                    5/10/23,                         $17,425.00           Secured debt
                                                            5/15/23,                                              Unsecured loan repayments
                                                            5/22/23,
                                                                                                                  Suppliers or vendors
                                                            5/22/23,
                                                                                                                  Services
                                                            5/26/23,
                                                            6/1/23,                                               Other
                                                            6/16/23
      3.3.
              On Deck Capital                               5/15/23,                           $9,603.02          Secured debt
                                                            5/19/23,                                              Unsecured loan repayments
                                                            5/26/23,
                                                                                                                  Suppliers or vendors
                                                            6/2/23,
                                                                                                                  Services
                                                            6/16/23,
                                                            6/23/23,                                              Other
                                                            6/30/23,
                                                            7/7/23,
                                                            7/31/23,
                                                            8/7/23
      3.4.
              Gm Financial                                  5/8/23,                          $11,364.08           Secured debt
              Po Box 181145                                 5/16/23,                                              Unsecured loan repayments
              Arlington, TX 76096                           6/27/23,
                                                                                                                  Suppliers or vendors
                                                            7/24/23
                                                                                                                  Services
                                                                                                                  Other


      3.5.
              Direct Capital                                5/8/23                             $2,486.92          Secured debt
                                                                                                                  Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.6.
              Citi Bank                                     5/12/23                            $1,017.00          Secured debt
                                                                                                                  Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.7.
              East Haven Building Supply                    5/24/23,                           $4,800.00          Secured debt
                                                            6/22/23                                               Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other




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Debtor       Oneco Builders LLC                                                                 Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.8.
              Benny's Painting                                     5/25/23                              $800.00               Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.9.
              Harbor One Bank                                      5/8/23,                            $2,413.97               Secured debt
              Cardmember Service                                   7/25/23                                                    Unsecured loan repayments
              PO Box 790408
                                                                                                                              Suppliers or vendors
              Saint Louis, MO 63179-0408
                                                                                                                              Services
                                                                                                                              Other


      3.10
      .
           Charter Oak Fcu/e B                                     5/9/23                             $1,337.26               Secured debt
              3 Boston Post Rd                                                                                                Unsecured loan repayments
              Waterford, CT 06385
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.11
      .
           Farm Family Casualty Insurance                          7/31/23                            $1,698.43               Secured debt
              1949 E Sunshine St.                                                                                             Unsecured loan repayments
              Springfield, MO 65899                                                                                           Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments


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Debtor       Oneco Builders LLC                                                                  Case number (if known)



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.1.    Boutros Salo & Boghos LLC               Contract                     Providence Superior Court                   Pending
              vs. Oneco Builders LLC                                               250 Benefit Street                          On appeal
              2023-01982                                                           Providence, RI 02903
                                                                                                                               Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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Debtor        Oneco Builders LLC                                                                Case number (if known)



               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Stephen P. Levesque, Esq.
               165 Burnside Street
               2nd Floor                                                                                               September
               Cranston, RI 02910                        $5000 Legal, $338 Filing                                      2023                       $5,338.00

               Email or website address
               www.spllaw.com

               Who made the payment, if not debtor?
               Frank Dimartino



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 HDmL LLC
      .                                                2011 Genie Z-45                                           10/2/22                         $15,000.00

              Relationship to debtor
              Third Party


      13.2 Cody Gould
      .                                                Caterpiller 305CCR                                        2/4/22                          $36,000.00

              Relationship to debtor
              Third Party


      13.3 HDmL LLC
      .                                                2012 Caterpiller 420F                                     1/31/22                         $45,000.00

              Relationship to debtor
              Third Party


      13.4 HDmL LLC
      .                                                2018 Caterpillar 272D                                     10/2/22                         $41,000.00

              Relationship to debtor
              Third Party




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Debtor      Oneco Builders LLC                                                                   Case number (if known)



             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.5 Brookside Equipment
      .                                                2012 Genie Z-60                                            6.8/22                       $22,000.00

             Relationship to debtor
             Third Party


      13.6 Brookside Equipment
      .                                                2003 John Deere 310 G                                      9/20/22                      $27,000.00

             Relationship to debtor
             Third Party


      13.7 Brookside Equipment
      .                                                2002 John Deere 310 G                                      9/20/22                      $27,000.00

             Relationship to debtor
             Third Party


      13.8 Brookside Equipment
      .                                                2016 Caterpiller Excavator                                 10/11/22                     $80,000.00

             Relationship to debtor
             Third Party


      13.9 Brookside Equipment
      .                                                2012 Ford F550                                             10/11/22                     $15,000.00

             Relationship to debtor
             Third Party


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information




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Debtor        Oneco Builders LLC                                                                 Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Citizens Bank                            XXXX-9255                     Checking                 Close by Citizens                          $0.00
               One Citizens Plaza                                                     Savings
                                                                                                               for Inactivity
               Providence, RI 02903
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                  Names of anyone with                Description of the contents                 Does debtor
                                                               access to it                                                                    still have it?
                                                               Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                                Names of anyone with                Description of the contents                 Does debtor
                                                               access to it                                                                    still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
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     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Smiths Tax Service                                                                                                 25 Years
                    1542 Main Sr S3
                    West Warwick, RI 02893

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

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             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Frank Dimartino
                    327 New Road
                    Moosup, CT 06354

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        On Deck Capital, LLC
                    4700 W. Daybreak Pkwy
                    Suite 200
                    South Jordan, UT 84009
      26d.2.        Scranton Chevrolet of Norwich
                    774 W Thames St.
                    Norwich, CT 06360
      26d.3.        Kapitus Servicing
                    2500 WIlson Blvd
                    S350
                    Arlington, TX 76001

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Debtor                                                                                            Total $8,035.00
      .                                                                                                      ICF Bracing Supports 36 pc
                                                                                                             20' Extension Ladder Fiberglass
                                                                                                             12' Step Ladder Fiberglass
                                                                                                             Paint Sprayer 5 Gallon
                                                                                                             Bullet Heater
                                                                                                             Construction 4ft Job Box
                                                                                                             Radial Arm Saw
                                                                                                             Ryobi Table Saw
                                                                                                             mpkita Demo Saw
                                                                                                             Plate Compactor
                                                                                                             Alumminum 16' Extension Ladder
                                                                                                             Water Pump and Hose
                                                                                                             Dewalt Skill Saw
                                                                                                             Air Compressor Emgloo
                                                                                                             Bostich Framing Gun
                                                                                                             Bostich Roofing Gun
                                                                                                             Bostich Hardwood Floor Nailer
                                                                                     2023                    Misc. Shovels and Rakes 8pc

               Name and address of the person who has possession of
               inventory records
               Oneco Builders, LLC
               475 Robin Hollow Rd.
               West Greenwich, RI 02817



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28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                              Position and nature of any             % of interest, if
                                                                                                  interest                               any
      Frank Dimartino                        327 New Road                                         President                              100
                                             Moosup, CT 06354



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 26, 2023

/s/ Frank H Dimartino                                           Frank H Dimartino
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes


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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                District of Rhode Island
 In re       Oneco Builders LLC                                                                               Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 26, 2023                                                       /s/ Stephen P. Levesque
     Date                                                                     Stephen P. Levesque 5742
                                                                              Signature of Attorney
                                                                              Stephen P. Levesque, Esq,
                                                                              165 Burnside Street
                                                                              2nd Floor
                                                                              Cranston, RI 02910
                                                                              401-490-4900 Fax: 401-490-4901
                                                                              customerservice@spllaw.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                       District of Rhode Island
 In re   Oneco Builders LLC                                                                      Case No.
                                                                    Debtor(s)                    Chapter     7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 26, 2023                            /s/ Frank H Dimartino
                                                        Frank H Dimartino/Member
                                                        Signer/Title
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                         Barnes Concrete Co., Inc.
                         873 Providence Pike
                         Putnam CT 06260


                         Boutros Salo & Boghos LLC
                         3 PRESIDENTIAL WAY
                         Lincoln RI 02865


                         Citizens Bank
                         PO Box 42010
                         Providence RI 02940-9799


                         Connecticut Secretary of State
                         165 Capitol Avenue Suite 1000
                         Hartford CT 06106


                         Erin E. Boatman Solis
                         155 Sycamore Street
                         Glastonbury CT 06033


                         Farm Family Casualty Insurance
                         1949 E Sunshine St.
                         Springfield MO 65899


                         First Citizens Bank
                         155 Xommerce Way
                         Portsmouth NH 03801


                         Gm Financial
                         Po Box 181145
                         Arlington TX 76096


                         J.R. Vinagro Corporation
                         2208 Plainfield Pike
                         Johnston RI 02919


                         John and Dawn Isch
                         90 Branden Way
                         Tolland CT 06084


                         Jolley Precast, Inc.
                         463 Putnam Rd.
                         Danielson CT 06239
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                     Joseph Raheb, Esq.
                     650 Washington Hwy
                     Lincoln RI 02865


                     Kevin Hulseberg
                     86 Green Hill Ocean Dr.
                     Wakefield RI 02879


                     Lowes Business Acct/Syncb
                     PO Box 669824
                     Dallas TX 75266


                     On Deck Capital, LLC
                     4700 W. Daybreak Pkwy
                     Suite 200
                     South Jordan UT 84009


                     Quality Insulation of Eastern
                     505 Norwich Ave.
                     Taftville CT 06380


                     Scranton Chevrolet of Norwich
                     774 W Thames St.
                     Norwich CT 06360


                     Synchrony Bank
                     PO Box 71754
                     Philadelphia PA 19176


                     The Home Depot
                     PO Box 70614
                     Philadelphia PA 19176


                     United Rentals, Inc
                     PO Box 100711
                     Atlanta GA 30384


                     Wiggin and Dana
                     One Century Tower
                     265 Church Street, 17th Floor
                     New Haven CT 06510
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                                                District of Rhode Island
 In re   Oneco Builders LLC                                                         Case No.
                                                           Debtor(s)                Chapter    7




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Oneco Builders LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Frank H Dimartino
327 New Road
Moosup, CT 06354




  None [Check if applicable]




September 26, 2023                             /s/ Stephen P. Levesque
Date                                           Stephen P. Levesque 5742
                                               Signature of Attorney or Litigant
                                               Counsel for Oneco Builders LLC
                                               Stephen P. Levesque, Esq,
                                               165 Burnside Street
                                               2nd Floor
                                               Cranston, RI 02910
                                               401-490-4900 Fax:401-490-4901
                                               customerservice@spllaw.com
